Case 25-11354-JNP           Doc 89     Filed 03/03/25 Entered 03/03/25 21:18:30                Desc Main
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 UNITED STATES BANKRUPTCY COURT
 DISTRICT OF NEW JERSEY

 Caption in Compliance with D.N.J. LBR 9004-1(b)

 E. Richard Dressel, Esquire (ED1793)
 Lex Nova Law LLC
 10 E. Stow Road, Suite 250
 Marlton, NJ 08053
 (856) 382-8211
 Counsel for Brett Levin



                                                                   Case No.:          25-11354(JNP)
                                                                                   ___________________
 In Re:
          DARYL FRED HELLER,                                       Chapter:                11
                                                                                   ___________________

                              Debtor                               Judge:          Jerrold N. Poslusny
                                                                                  ___________________



                                       NOTICE OF APPEARANCE

          Please take notice that in accordance with Fed. R. Bankr. P. 9010(b) the undersigned enters an
                                             Brett Levin
appearance in this case on behalf of _________________________. Request is made that the documents
filed in this case and identified below be served on the undersigned at this address:

          ADDRESS: Lex Nova Law LLC
                       10 E. Stow Road, Suite 250
                       Marlton, NJ 08053
                       rdressel@lexnovalaw.com; 856.382.8211

          DOCUMENTS:
          ☐ All notices entered pursuant to Fed. R. Bankr. P. 2002.

          ☐ All documents and pleadings of any nature.




                 March 3, 2025
          Date: ___________________________                        /s/ E. Richard Dressel
                                                                   ______________________________
                                                                   Signature


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